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16                              UNITED STATES DISTRICT COURT
17                                     DISTRICT OF ARIZONA
18   Democratic National Committee; Arizona
     Democratic Party,                                       Case No. 2:22-cv-01369-SRB
19
                                  Plaintiffs,
20                                                           PLAINTIFFS’ UNOPPOSED
            v.                                               MOTION TO CONSOLIDATE
21
     Katie Hobbs, in her official capacity as Arizona
22   Secretary of State; Mark Brnovich, in his official
     capacity as Arizona Attorney General,
23
                                  Defendants.
24

25          Pursuant to Federal Rule of Civil Procedure 42(a) and Arizona Local Rule 42.1(b),
26   Plaintiffs Democratic National Committee and the Arizona Democratic Party respectfully
27   move to consolidate this action with Mi Familia Vota v. Hobbs, 2:22-cv-509-PHX-SRB, which
28   has already been consolidated with Living United for Change in Arizona v. Hobbs, 2:22-cv-
         Case 2:22-cv-01369-SRB Document 17 Filed 08/23/22 Page 2 of 5




 1   519-PHX-SRB; Poder Latinx v. Hobbs, et al., 2:22-cv-1003-PHX-SRB; and United States
 2   v. Arizona, 2:22-cv-1124-PHX-SRB, and is pending before this Court. Counsel for the
 3   Democratic National Committee and the Arizona Democratic Party have conferred with
 4   counsel in the consolidated cases, and no party opposes this motion.
 5          Rule 42(a) provides district courts broad discretion to consolidate cases pending in
 6   the same district. Invs. Rsch. Co. v. U.S. Dist. Ct. for Cen. Dist. Of Cal., 877 F.2d 777, 777
 7   (9th Cir. 1989). The consolidated cases and the instant case concern overlapping challenges
 8   to the same recently enacted Arizona election law, House Bill 2492 (“H.B. 2492”). The
 9   Democratic National Committee and Arizona Democratic Party allege in this case that
10   House Bill 2492 violates the First and Fourteenth Amendment, as well as various provisions
11   of the National Voter Registration Act of 1993 (NVRA), 52 U.S.C. § 20510, as well as
12   Section 101 of the Civil Rights Act of 1964 (Section 101), 52 U.S.C. § 10101. Plaintiffs in
13   the consolidated cases have similarly alleged that House Bill 2492 violates these laws. See,
14   e.g., Mi Familia Vota Second Am. Compl., Mi Familia Vota v. Hobbs, No. 1.22-cv-509-
15   PHX-SRB (D. Ariz. July 18, 2022), ECF No. 65 at ¶¶ 76-106; United States Compl., United
16   States v. Arizona, No. 2.22-cv-1124-PHX-SRB, ECF No. 1, at ¶¶ 62-71; Living United For
17   Change Am. Compl., Living United for Change in Arizona v. Hobbs, No. 2.22-cv-519-PHX-
18   SRB, ECF No. 67 at ¶¶ 308-328, 342-62; Poder Latinx Compl., Poder Latinx v. Hobbs, et
19   al., 2.22-cv-1003-PHX-SRB, ECF No. 1, at ¶¶ 62-97. These cases “involve [] common
20   question[s] of law [and] fact,” and consolidation will promote efficiency and convenience
21   without imposing undue prejudice on any party. The cases challenge the same law, are filed
22   against the same parties, and adjudication of the claims in each will require overlapping
23   discovery and briefing. Consolidation is accordingly appropriate. See Fed. R. Civ. P. 42(b).
24          For the reasons set forth above, the Democratic National Committee and Arizona
25   Democratic Party respectfully request that this Court consolidate this matter with Mi Familia
26   Vota v. Hobbs, 2.22-cv-509-PHX-SRB (D. Ariz).
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 1     DATED this 23rd day of August, 2022.
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 7                                        pending)
                                          Daniel Volchok (pro hac vice application
 8                                        pending)
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10                                        pending)
11                                        Attorneys for Plaintiff
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         Case 2:22-cv-01369-SRB Document 17 Filed 08/23/22 Page 4 of 5




 1                                CERTIFICATE OF SERVICE
 2        I hereby certify that on the 23rd day of August, 2022, I caused the foregoing to be
 3   filed and served electronically via the Court’s CM/ECF system upon counsel of record.
 4   For parties whose counsel have not yet entered an appearance, copies of this motion have
 5   been served via electronic mail.
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